     Case 2:15-bk-17446-VZ          Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56          Desc
                                     Main Document    Page 1 of 33


 1     James I. Stang (CA Bar No. 94435)
       PACHULSKI STANG ZIEHL & JONES LLP
 2     10100 Santa Monica Blvd., 13th Floor
       Los Angeles, CA 90067-4114
 3     Telephone: (310) 277-6910
       Facsimile: (310) 201-0760
 4     E-mail: jstang@pszjlaw.com

 5     Attorneys for Debtor

 6

 7                                  UNITED STATES BANKRUPTCY COURT

 8                                   CENTRAL DISTRICT OF CALIFORNIA

 9                                         LOS ANGELES DIVISION

10     In re                                             Case No. 2:15-bk-17446-VZ

11     WANDA ROZAR,                                      Chapter 7

12                        Debtor.                        OBJECTION OF DEBTOR TO CLAIM
                                                         OF VILLAGE WALK MAINTENANCE
13                                                       CORPORATION [CLAIM NO. 4];
                                                         MEMORANDUM OF POINTS AND
14                                                       AUTHORITIES; AND DECLARATIONS
                                                         OF JAMES I. STANG AND DEBTOR
15
                                                         Hearing:
16                                                       Date: September 19, 2023
                                                         Time: 11:00 a.m.
17                                                       Place: Courtroom 1368
                                                         United States Bankruptcy Court
18                                                       Central District of California
                                                         Edward R. Roybal Fed. Bldg. & Courthouse
19                                                       255 E. Temple Street, Suite 1360
                                                         Los Angeles, CA 90012
20

21             TO THE HONORABLE VINCENT P. ZURZOLO, UNITED STATES BANKRUPTCY

22     JUDGE, VILLAGE WALK MAINTENANCE CORPORATION, THE OFFICE OF THE UNITED

23     STATES TRUSTEE, AND CERTAIN OTHER INTERESTED PARTIES:

24             Pursuant to Rule 3007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”)

25     and Local Bankruptcy Rules 3007-1 and 9013-1, Wanda Rozar, the debtor (the “Debtor”) in the above-

26     captioned chapter 7 case, hereby moves the Court for an Order disallowing the $22,004.38 claim filed

27     by Village Walk Maintenance Corporation (“Village Walk” or the “Claimant”), which is Claim No. 4

28     on the Court’s Claims Register (the “Claim”).


       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ           Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56               Desc
                                      Main Document    Page 2 of 33


 1             The Claim, which was filed in 2015, is based on homeowners’ association dues and fees in

 2     connection with real property previously owned by the Debtor. This chapter 7 case was reopened in

 3     2023 to administer assets. The Debtor hereby objects to the Claim because the underlying debt has

 4     been satisfied pursuant to a short sale completed in 2017.

 5             This Objection is based on the Memorandum of Points and Authorities and Declaration of

 6     James I. Stang and Wanda Rozar set forth below, the exhibits attached thereto, the concurrently filed

 7     Notice of this Objection served on the Claimant and certain other interested parties, all pleadings,

 8     papers, and records on file with the Court in this proceeding, and on such other evidence, oral or

 9     documentary, as may be presented to and considered by the Court in connection with this Objection

10     and the hearing hereon.

11             WHEREFORE, the Debtor respectfully requests that the Court enter an Order:

12             1.         Disallowing the Claim in its entirety; and

13             2.         Granting such other and further relief as the Court deems just and proper.

14
       Dated: August 16, 2023                         PACHULSKI STANG ZIEHL & JONES LLP
15

16
                                                      By: /s/ James I. Stang
17                                                        James I. Stang

18                                                          Attorneys for Debtor
19

20

21

22

23

24

25

26

27

28

                                                             2
       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ            Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                          Desc
                                       Main Document    Page 3 of 33


 1                              MEMORANDUM OF POINTS AND AUTHORITIES1

 2     I.       STATEMENT OF FACTS

 3              On May 8, 2015, the Debtor filed a voluntary petition for relief under chapter 13 of the

 4     Bankruptcy Code commencing the above-captioned bankruptcy case (the “Bankruptcy Case”).

 5     Concurrently therewith, the Debtor filed her bankruptcy schedules. See Dkt. No. 1.

 6              On or about November 13, 2015, the Bankruptcy Case was converted to a case under chapter 7

 7     of the Bankruptcy Code. Shortly thereafter, David A. Gill was appointed to serve as chapter 7 trustee

 8     in the Bankruptcy Case. On February 8, 2016, Mr. Gill filed a no asset report and, on March 2, 2016,

 9     the Bankruptcy Case was closed.

10              On February 14, 2023, the United States Trustee (the “UST”) filed a motion to reopen the case

11     (the “Motion to Reopen”) to administer assets. See Dkt. No. 38. The Motion to Reopen also sought

12     appointment of a chapter 7 trustee for purposes of administering the bankruptcy estate.

13              On February 24, 2023, the Court entered an order granting the Motion to Reopen and directed

14     the UST to appoint a chapter 7 trustee. On February 24, 2023, Howard M. Ehrenberg was appointed

15     to serve as the chapter 7 trustee in this case. The same day, the Trustee filed a notice of assets and

16     possible dividend, and the Court fixed May 30, 2023 as the deadline to file proofs of claim.

17              According to the Debtor’s Schedule D filed in this case, on the Petition Date, Village Walk

18     was owed a total of $2,000.00 that was secured by real property commonly known as 28231

19     Canterbury Court, Valencia, California 91354 (the “Property”). Attached hereto as Exhibit 1 is a copy

20     of the page of the Debtor’s Schedule D [Dkt. No. 1] listing the secured debt owed to Village Walk.

21              On July 10, 2015, Village Walk filed its Claim against the bankruptcy estate (the “Estate”) in

22     the amount of $22,004.38, which is Claim No. 4 on the Court’s Claims Register. A copy of the Claim

23     is attached hereto as Exhibit 2. The documents attached to the Claim evidence that the Claim is based

24     upon the same debt that was listed on the Debtor’s Schedule D.

25              On or about May 31, 2017, a short sale of the Property was conducted. Pursuant to the short

26     sale, the amounts owed to Village Walk for unpaid assessments were paid. A copy of the escrow

27

28     1
            Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the motion to which this
            memorandum of points and authorities is attached.
                                                                   3
       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ         Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                 Desc
                                    Main Document    Page 4 of 33


 1     instructions in connection with the short sale, dated April 24, 2017, is attached hereto as Exhibit 3.

 2     A copy of the Final Settlement Statement for the short sale is attached hereto as Exhibit 4.

 3             On July 6, 2023, the Debtor’s counsel caused a letter to be mailed to Village Walk, stating that

 4     the debt underlying the Claim has been satisfied pursuant to the short sale and requesting that the

 5     Claim be withdrawn. A copy of that letter is attached hereto as Exhibit 5. To date, no response has

 6     been received from Village Walk.

 7     II.     APPLICABLE LEGAL AUTHORITY AND ARGUMENT

 8             A.         Legal Authority Regarding the Applicable Burdens of Proof.

 9             A proof of claim must provide sufficient facts and evidence to support the claim. See 11 U.S.C.

10     § 502(a); Fed. R. Bankr. P. 3001; Ashford v. Consolidated Pioneer Mortg. (In re Consolidated Pioneer

11     Mortg.), 178 B.R. 222, 226 (B.A.P. 9th Cir. 1995) (“Initially, the claimant must allege facts sufficient

12     to support the claim.”). Absent such information, the claim is not entitled to prima facie validity under

13     Bankruptcy Rule 3001(f), and if the claimant does not provide adequate evidence to support its claim,

14     the claim may be disallowed. See Consolidated Pioneer Mortg., 178 B.R. at 226–27.

15             The burden of proof under section 502(a) of the Bankruptcy Code rests on different parties at

16     different times. Id. at 226. Initially, the claimant must allege facts sufficient to support the claim. Id.

17     If the averments in the claim meet this standard of sufficiency, it is prima facie valid; a claim that

18     alleges facts sufficient to support a legal liability to the claimant satisfies the claimant’s initial

19     obligation to go forward. Id. The burden of going forward then shifts to the objector to produce

20     evidence sufficient to negate the prima facie validity of the claim. Id. The objector must produce

21     evidence equal in force to the prima facie case; the objector must produce evidence that, if believed,

22     would refute at least one of the allegations that is essential to the claim’s legal sufficiency. Id. If the

23     objector produces sufficient evidence to negate one or more of the sworn facts in the proof of claim,

24     the burden reverts to the claimant to prove the validity of the claim by the preponderance of the

25     evidence. Id. The burden of persuasion is always on the claimant. Id.

26             B.         The Claim Should Be Disallowed Because the Underlying Debt Has Been Satisfied.

27             Pursuant to the short sale, the unpaid assessments owed to Village Walk were paid. It is evident

28     from the documents relating to the short sale attached hereto as Exhibit 3 and Exhibit 4 that the

                                                           4
       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ           Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56               Desc
                                      Main Document    Page 5 of 33


 1     underlying debt to Village Walk has been paid in full. Accordingly, the Court should disallow the

 2     Claim in its entirety.

 3     III.    CONCLUSION

 4             For the reasons set forth above, the Trustee respectfully requests that the Court enter an Order:

 5             1.         Disallowing the Claim in its entirety; and

 6             2.         Granting such other and further relief as the Court deems just and proper.

 7
       Dated: August 16, 2023                         PACHULSKI STANG ZIEHL & JONES LLP
 8

 9
                                                      By: /s/ James I. Stang
10                                                        James I. Stang

11                                                          Attorneys for Debtor
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                             5
       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ           Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                          Desc
                                      Main Document    Page 6 of 33


 1                                      DECLARATION OF JAMES I. STANG2

 2             I, James I. Stang, declare as follows:

 3             1.         The following matters are of my own personal knowledge and, if called upon to do so,

 4     I could and would competently testify as to the truth of the matters set forth herein. I am an individual

 5     over the age of 18 years and am competent to make this declaration under oath.

 6             2.         I am a partner with the law firm of Pachulski Stang Ziehl & Jones LLP, which is counsel

 7     for Wanda Rozar, the Debtor in the above-captioned chapter 7 case.

 8             3.         On May 8, 2015, the Debtor filed a voluntary petition for relief under chapter 13 of the

 9     Bankruptcy Code commencing the above-captioned bankruptcy case (the “Bankruptcy Case”).

10     Concurrently therewith, the Debtor filed her bankruptcy schedules. See Dkt. No. 1.

11             4.         On or about November 13, 2015, the Bankruptcy Case was converted to a case under

12     chapter 7 of the Bankruptcy Code. Shortly thereafter, David A. Gill was appointed to serve as

13     chapter 7 trustee in the Bankruptcy Case. On February 8, 2016, Mr. Gill filed a no asset report and,

14     on March 2, 2016, the Bankruptcy Case was closed.

15             5.         On February 14, 2023, the United States Trustee (the “UST”) filed a motion to reopen

16     the case (the “Motion to Reopen”) to administer assets. See Dkt. No. 38. The Motion to Reopen also

17     sought appointment of a chapter 7 trustee for purposes of administering the bankruptcy estate.

18             6.         On February 24, 2023, the Court entered an order granting the Motion to Reopen and

19     directed the UST to appoint a chapter 7 trustee. On February 24, 2023, Howard M. Ehrenberg was

20     appointed to serve as the chapter 7 trustee in this case. The same day, the Trustee filed a notice of

21     assets and possible dividend, and the Court fixed May 30, 2023 as the deadline to file proofs of claim.

22             7.         According to the Debtor’s Schedule D filed in this case, on the Petition Date, Village

23     Walk was owed a total of $2,000.00 that was secured by real property commonly known as 28231

24     Canterbury Court, Valencia, California 91354 (the “Property”). Attached hereto as Exhibit 1 is a copy

25     of the page of the Debtor’s Schedule D [Dkt. No. 1] listing the secured debt owed to Village Walk.

26

27

28     2
           Capitalized terms not otherwise defined herein shall have the meaning ascribed to them in the motion to which this
           declaration is attached.
                                                                  6
       DOCS_DE:244196.1
     Case 2:15-bk-17446-VZ           Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56              Desc
                                      Main Document    Page 7 of 33


 1             8.         On July 10, 2015, Village Walk filed its Claim against the bankruptcy estate

 2     (the “Estate”) in the amount of $22,004.38, which is Claim No. 4 on the Court’s Claims Register.

 3     A copy of the Claim is attached hereto as Exhibit 2. The documents attached to the Claim evidence

 4     that the Claim is based upon the same debt that was listed on the Debtor’s Schedule D.

 5             9.         Under my supervision and direction, on July 6, 2023 my firm mailed a letter to Village

 6     Walk, stating that the debt underlying the Claim has been satisfied pursuant to the short sale and

 7     requesting that the Claim be withdrawn. A copy of that letter is attached hereto as Exhibit 5. To date,

 8     my firm has not received a response from Village Walk.

 9             I declare under penalty of perjury that the foregoing is true and correct, and that this

10     declaration was executed on August 16, 2023, at Los Angeles, California.

11
                                                                      /s/ James I. Stang
12                                                                    James I. Stang
13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                            7
       DOCS_DE:244196.1
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                         Main Document    Page 8 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                         Main Document    Page 9 of 33




                            EXHIBIT 1
                 Case
                 Case2:15-bk-17446-VZ
                      2:15-bk-17446-VZ Doc
                                       Doc62
                                           1 Filed
                                               Filed05/08/15
                                                    08/16/23 Entered
                                                               Entered05/08/15
                                                                       08/16/2315:48:41
                                                                               16:54:56 Desc
                                                                                        Desc
                                       Main Document     Page 10
                                                              16 of 33
                                                                    51
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re         Wanda Rozar                                                                                                    Case No.
                                                                                                                   ,
                                                                                                  Debtor

                                    SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                             C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                O                                                              O    N   I
                                                             D   H        DATE CLAIM WAS INCURRED,                          N    L   S        CLAIM
           AND MAILING ADDRESS                               E                                                              T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                              B   W            NATURE OF LIEN, AND                           I    Q   U                       PORTION, IF
                                                             T   J          DESCRIPTION AND VALUE                           N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                O                                                              G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                 C               OF PROPERTY
                                                             R
                                                                                SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No.                                                          Purchase Money Security                                     E
                                                                                                                                 D

Chase Auto Finance                                                 2007 Mercedes Benz C230 (79,000
                                                                   miles)-title and loan are in debtor
                                                                   father's name. Father makes payments
                                                                 - on the car, but debtor drives the car.

                                                                        Value $                              9,528.00                          7,000.00                    0.00
Account No.                                                          Homeowner's Association Dues

Village Walk Maintenance Corp.                                       Property Commonly Known As 28231
c/o Valencia Management Corp.                                        Canterbury Court, Valencia, California
27644 Newhall Ranch Road, #45                                        91354
                                                                 -
Valencia, CA 91355

                                                                        Value $                            350,000.00                          2,000.00              2,000.00
Account No. xxxxxx xx 7729                                           03/2007

Wells Fargo Home Mortgage                                            First Mortgage
Attn: Bankruptcy Department
                                                                   Property Commonly Known As 28231
MAC #D3347-014
                                                                 - Canterbury Court, Valencia, California
3476 Stateview Blvd.                                               91354
Fort Mill, SC 29715
                                                                        Value $                            350,000.00                        379,554.42            29,554.42
Account No. 1333062-31

Cal-Western Reconveyance Corp.                                          Representing:
525 East Main Street                                                    Wells Fargo Home Mortgage                                           Notice Only
P.O. Box 22004
El Cajon, CA 92022-9004

                                                                        Value $
                                                                                                                         Subtotal
 0
_____ continuation sheets attached                                                                                                           388,554.42            31,554.42
                                                                                                                (Total of this page)
                                                                                                                          Total              388,554.42            31,554.42
                                                                                                (Report on Summary of Schedules)

 Software Copyright (c) 1996-2014 - Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 11 of 33




                            EXHIBIT 2
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               1 of
                        Main Document12 Page 12 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               2 of
                        Main Document12 Page 13 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               3 of
                        Main Document12 Page 14 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               4 of
                        Main Document12 Page 15 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               5 of
                        Main Document12 Page 16 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               6 of
                        Main Document12 Page 17 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               7 of
                        Main Document12 Page 18 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               8 of
                        Main Document12 Page 19 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                        07/10/15 Entered
                                                  Desc Main
                                                         08/16/23
                                                            Document
                                                                  16:54:56Page
                                                                            Desc
                                                                               9 of
                        Main Document12 Page 20 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                         07/10/15 Entered
                                                    Desc Main
                                                           08/16/23
                                                               Document
                                                                    16:54:56 Page
                                                                               Desc
                                                                                  10
                        Main Document  of 12 Page 21 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                         07/10/15 Entered
                                                    Desc Main
                                                           08/16/23
                                                               Document
                                                                    16:54:56 Page
                                                                               Desc
                                                                                  11
                        Main Document  of 12 Page 22 of 33
Case
 Case2:15-bk-17446-VZ
      2:15-bk-17446-VZ Claim
                        Doc 62
                             4-1 Filed
                                  Filed08/16/23
                                         07/10/15 Entered
                                                    Desc Main
                                                           08/16/23
                                                               Document
                                                                    16:54:56 Page
                                                                               Desc
                                                                                  12
                        Main Document  of 12 Page 23 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 24 of 33




                            EXHIBIT 3
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 25 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 26 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 27 of 33




                            EXHIBIT 4
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 28 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 29 of 33
Case 2:15-bk-17446-VZ   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56   Desc
                        Main Document    Page 30 of 33




                            EXHIBIT 5
            Case 2:15-bk-17446-VZ    Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                Desc
                                     Main Document    Page 31 of 33




                                    James I. Stang               July 6, 2023                     310.772.2354
                                                                                            jstang@pszjlaw.com

                                     Village Walk Maintenance Corp.
                                     c/o Richardson Harman Ober PC
                                     234 E. Colorado Blvd. #800
L O S A N G E L E S, C A
S A N F R A N C I S C O, C A         Pasadena, CA 91101
W I L M I N G T O N, D E
N E W Y O R K, N Y
H O U S T O N, T X                             Re:   Wanda Rozar
                                                     Chapter 7 Case No. 15-17446 (Bankr. C.D. Cal.)
10100 SANTA MONICA BLVD.
13th FLOOR
                                                     Proof of Claim No. 4
LOS ANGELES
CALIFORNIA 90067-4003               Dear Sir or Madam:
TELEPHONE: 310.277.6910
FACSIMILE: 310.201.0760                    Pachulski Stang Ziehl & Jones LLP is counsel to Wanda
                                    Rozar in connection with the above-referenced chapter 7 bankruptcy
SAN FRANCISCO                       case. Village Walk Maintenance Corp. filed a proof of claim in this
ONE SANSOME STREET
34th FLOOR, SUITE 3430
                                    case (Claim No. 4) (the “Claim”) on July 10, 2015. A copy of the
SAN FRANCISCO                       Claim is enclosed for your reference.
CALIFORNIA 94104

TELEPHONE: 415.263.7000                     The Claim relates to homeowners’ association dues on
FACSIMILE: 415.263.7010             property formerly owned by the Debtor located at 28231 Canterbury
                                    Court, Santa Clarita, CA 91354. Our records indicate that the debt
DELAWARE                            underlying the Claim was satisfied in connection with a short sale of
919 NORTH MARKET STREET
17th FLOOR
                                    the subject property. A copy of the escrow instructions dated April
P.O. BOX 8705                       24, 2017, which addresses the satisfaction of homeowners’
WILMINGTON                          association dues, is enclosed. Accordingly, we request that you
DELAWARE 19899-8705                 withdraw the Claim. A Withdrawal of Claim form is attached, along
TELEPHONE: 302.652.4100             with a return envelope; you may complete and sign the form and
FACSIMILE: 302.652.4400
                                    return it to us for filing with the court.
NEW YORK
780 THIRD AVENUE
                                                                  Very truly yours,
34th FLOOR
NEW YORK
NEW YORK 10017-2024

TELEPHONE: 212.561.7700
FACSIMILE: 212.561.7777



TEXAS                                                             James I. Stang
440 LOUISIANA STREET
SUITE 900
HOUSTON
                                    JIS
TEXAS 77002-1062                    Enclosures
TELEPHONE: 713.691.9385
FACSIMILE: 713.691.9407




WEB:   www.pszjlaw.com
                                    DOCS_DE:243359.1 55929/001
         Case 2:15-bk-17446-VZ                   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                                     Desc
                                                 Main Document    Page 32 of 33



                                       PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
10100 Santa Monica Blvd., 13th Fl., Los Angeles, California 90067.

True and correct copies of the foregoing documents entitled (specify): OBJECTION OF DEBTOR TO CLAIM OF
VILLAGE WALK MAINTENANCE CORPORATION [CLAIM NO. 4]; MEMORANDUM OF POINTS
AND AUTHORITIES; AND DECLARATIONS OF JAMES I. STANG AND DEBTOR will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
August 16, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

                                                                                          Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On August 16, 2023, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.



                                                                                          Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) February 10, 2016, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

VIA OVERNIGHT MAIL
The Honorable Vincent P. Zurzolo
U. S. Bankruptcy Court, Central District of California
255 E. Temple Street, Suite 1360
Courtroom 1368
Los Angeles, CA 90012
                                                                                          Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 August 16, 2023                     Sophia L. Lee                                            /s/ Sophia L. Lee
 Date                         Printed Name                                                    Signature




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:350628.1 55929/001
         Case 2:15-bk-17446-VZ                   Doc 62 Filed 08/16/23 Entered 08/16/23 16:54:56                                     Desc
                                                 Main Document    Page 33 of 33


In re: Wanda Rozar
Case No. 2:15-bk-17446-VZ

TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

       Christopher Darden Christopher.Darden@wellsfargo.com
       Howard M Ehrenberg (TR) ehrenbergtrustee@gmlaw.com,
        ca25@ecfcbis.com;C123@ecfcbis.com;howard.ehrenberg@ecf.courtdrive.com;Karen.Files
        @gmlaw.com
       Marian Garza ecfnotices@ascensioncapitalgroup.com
       David A Gill (TR) trusteeECF@dgdk.com,
        dgill@ecf.axosfs.com;DanningGill@Gmail.com
       Asa S Hami asa.hami@gmlaw.com,
        ahami@ecf.courtdrive.com;patricia.dillamar@gmlaw.com;pdillamar@ecf.courtdrive.com
       Amy Lawrence Amy.Lawrence@wellsfargo.com, Shelby.Lawrence@wellsfargo.com
       Jennifer McGrath jmcgrath@mklawllp.com
       Kelly L Morrison kelly.l.morrison@usdoj.gov
       Marisol A Nagata bknotifications@ghidottiberger.com, mnagata@ghidottiberger.com
       William J Smyth william@wkdlegal.com, williamsmyth@gmail.com
       United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
       Darlene C Vigil cdcaecf@bdfgroup.com
SERVED BY UNITED STATES MAIL:

Village Walk Maintenance Corporation
c/o Richardson Harman Ober PC
234 E. Colorado Blvd., # 800
Pasadena, CA 91101

Village Walk Maintenance Corporation
Attn: Russell Hoffman
25106 Avenue Tibbitts, 100
Valencia, CA 91355




          This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
DOCS_LA:350628.1 55929/001
